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 6                          IN THE UNITED STATES DISTRICT COURT
 7                                 FOR THE DISTRICT OF ARIZONA
 8
 9   Jeremy Pinson,                                   No. CV-19-00422-TUC-RM
10                    Plaintiff,                      ORDER
11   v.
12   United States,
13                    Defendant.
14
15            IT IS ORDERED appointing pro bono counsel Shannon Giles, of Awerkamp
16   Bonilla & Giles PLC, to represent Plaintiff Jeremy Pinson solely for the limited purpose

17   of conducting the cross-examination of Ricki Makhimetas during the bench trial in the
18   above-captioned matter. Counsel shall file a notice of appearance within ten (10) days of

19   the filing of this Order.

20            Dated this 17th day of October, 2023.
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